
In re: State of Louisiana, through Aubert J. Talbot, District Attorney, applying for writs of certiorari, prohibition, mandamus and for a stay order. Parish of Ascension. 361 So.2d 259.
Granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable A. J. Kling, Jr., Judge of the Ascension Parish Court for the Parish of Ascension, to transmit to the Supreme Court of Louisiana, on or before the 15th day of September, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a day to be fixed by this court, 1978, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
